  Case 1:23-cr-00061-MN Document 163 Filed 05/22/24 Page 1 of 2 PageID #: 2690




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA                           )
                                                   )
       v.                                          )      Criminal Action No. 1:23-cr-61-MN
                                                   )
ROBERT HUNTER BIDEN,                               )
                                Defendant.         )

                   REPLY TO RESPONSE TO GOVERNMENT’S MOTION
             IN LIMINE TO EXCLUDE EVIDENCE OF ABSENCE OF CRIMINAL
                    CHARGES BY DELAWARE STATE AUTHORITIES

            The United States, by and through undersigned counsel, respectfully submits this Reply in

support of the government’s motion (Doc. No. 121). In his Response, the defendant indicates he does

not oppose the government’s motion. Doc. No. 152 at p. 1. The government respectfully requests the

Court issue its proposed order and responds to two incorrect statements by the defendant:

            First, the defendant states “both parties may still seek the admission of . . . the Delaware

State Police incident report . . .” Response at 1. The report is inadmissible because it is hearsay and

not covered by any exception. Fed. R. Evid. 801.

            Second, the defendant states “defense counsel would not be precluded from arguing that all

the relevant events took place in 2018 and prosecutors did not bring any charges against Mr.

Biden until five years later.” Response at 2 (emphasis added). The fact that prosecutors decided to

bring charges against Mr. Biden five years later is not relevant because it is not a fact of consequence

and is therefore not admissible. Fed. R. Evid. 401; See United States v. Benson, 957 F.3d 218, 236-

37 (4th Cir. 2020) (evidence of when a charging decision is made and the decision itself is irrelevant);

United States v. Reed, 641 F.3d 992, 993 (8th Cir. 2011) (collecting cases). Because the timing of the

charging decision is not relevant to the jury’s determination, the only purpose for the defense to elicit
  Case 1:23-cr-00061-MN Document 163 Filed 05/22/24 Page 2 of 2 PageID #: 2691



it is to imply that somehow the charges are politically motivated. Not only is that an inappropriate

inference, but this Court also previously stated:

       To the extent that Defendant’s claim that he is being selectively prosecuted rests solely
       on him being the son of the sitting President, that claim is belied by the facts. The
       Executive Branch that charged Defendant is headed by that sitting President –
       Defendant’s father. The Attorney General heading the DOJ was appointed by and
       reports to Defendant’s father. And that Attorney General appointed the Special
       Counsel who made the challenged charging decision in this case – while Defendant’s
       father was still the sitting President. Defendant’s claim is effectively that his own
       father targeted him for being his son, a claim that is nonsensical under the facts here.
       Regardless of whether Congressional Republicans attempted to influence the
       Executive Branch, there is no evidence that they were successful in doing so and, in
       any event, the Executive Branch prosecuting Defendant was at all relevant times (and
       still is) headed by Defendant’s father.
Memorandum Opinion Denying Motion to Dismiss for Selective and Vindictive Prosecution, Doc.

No. 99, p. 9, FN 2. The Court should prohibit the defendant from arguing that “prosecutors did not

bring any charges against Mr. Biden until five years later” because that fact is irrelevant and is being

elicited for an improper purpose to suggest improper motive, when the evidence shows there is none.

Such improper argument would lead the government to have to try to cure any misperception by

introducing evidence consistent with the Court’s Opinion cited above.

                                   Respectfully submitted,
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                                   United States Department of Justice

                           By:

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